Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23   Desc:
                           Exhibit R Page 1 of 39



                                   Exhibit R
                 UNINSURED BOND SETTLEMENT AGREEMENT
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                           Exhibit R Page 2 of 39



                 THIS NOTICE IS NOT AN OFFER WITH RESPECT TO ANY
                                   SECURITIES OR
     A SOLICITATION OF ACCEPTANCE OR REJECTION OF A TITLE III PLAN WITHIN THE
   MEANING OF SECTION 1125 OF THE BANKRUPTCY CODE INCORPORATED INTO PROMESA
                               TITLE III BY SECTION 301.

     ANY SUCH FUTURE OFFER OR SOLICITATION WILL COMPLY WITH ALL APPLICABLE
                              SECURITIES LAWS AND/OR PROMESA.
                  --------------------------------------------------------------------------------

                          NOTICE TO HOLDERS OF UNINSURED BONDS

                                                     of

                          PUERTO RICO ELECTRIC POWER AUTHORITY
                           (Formerly Puerto Rico Water Resources Authority)

                                    POWER REVENUE BONDS and
                                   POWER REVENUE REFUNDING
                                               BONDS
                             (List of CUSIPS Attached as Exhibit A hereto)

                                                Regarding

                       Opportunity for Uninsured Bondholders to Become Party to
                                         Settlement Agreement

                  “Participation Date”:                     5:00 p.m. ET on February 24, 2023

  This notice contains important information of interest to beneficial owners of the subject securities. To
  the extent applicable, all depositories, custodians, and other intermediaries receiving this notice are
  requested to expedite re-transmittal to such beneficial owners in a timely manner. AS MORE FULLY
  DESCRIBED HEREIN, FAILURE TO SIGN THE SETTLEMENT AGREEMENT (AS
  DEFINED BELOW) AND TO TENDER YOUR BONDS FOR ASSIGNMENT OF A NEW CUSIP
  BY THE PARTICIPATION DATE WILL RESULT IN LOSS OF THIS OPPORTUNITY TO
  SETTLE.

  This notice is addressed solely to holders of Bonds (as defined below) issued by the Puerto Rico
  Electric Power Authority (“PREPA”) that are not insured under a primary insurance policy or
  secondary insurance policy (the “Uninsured Bonds”). Bonds insured under a primary insurance
  policy or secondary insurance policy (“Insured Bonds”) are not eligible for the opportunity
  described herein and their respective monoline insurer will be provided with a similar proposal
  separately. Accordingly, beneficial owners of such Insured Bonds and any custodian holding such
  Insured Bonds and a related secondary insurance policy are not eligible to sign the Settlement
  Agreement, should not tender such Insured Bonds, and should not sign the Settlement Agreement
  in respect of such Insured Bonds.

  Capitalized terms used but not defined in this notice shall have the respective meanings given to them in
  the Settlement Agreement.



                                                     1
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                   Desc:
                           Exhibit R Page 3 of 39


                                              Settlement Agreement

     NOTICE IS HEREBY GIVEN by the Financial Oversight and Management Board for Puerto Rico, as
     the Title III representative of PREPA (“Oversight Board”) to each beneficial and registered owner of
     uninsured Puerto Rico Electric Power Authority Power Revenue Bonds and Power Revenue Refunding
     Bonds (the “Bonds”), issued and outstanding pursuant to that certain Trust Agreement, dated as of
     January 1, 1974, as amended and restated, supplemented, or otherwise modified from time to time,
     between PREPA and U.S. Bank National Association as successor trustee (the “Trustee”), to become a
     party to a Settlement Agreement (together with the annexes, exhibits, and schedules attached thereto,
     and as it may be amended, restated, supplemented, or otherwise modified from time to time in accordance
     with its terms, each a “Settlement Agreement”) among (a) Oversight Board and (b) such beneficial or
     registered owner of Uninsured Bonds (together with all other beneficial or registered owners that become
     parties to a Settlement Agreement, the “Settling Bondholders”). Beneficial or registered owners of
     Uninsured Bonds who do not become a party to the Settlement Agreement are defined as “Non-Settling
     Bondholders”.

     Each Settling Bondholder will be party to an individual Settlement Agreement that will contain the same
     terms and conditions as the Settlement Agreements applicable to other Settling Bondholders. A copy of
     the terms of the Settlement Agreement is attached hereto as Exhibit B. A copy of the Settlement
     Agreement will also be available at: https://cases.ra.kroll.com/puertorico, the case site for the Title III
     Case of PREPA. Once on the case site, click the link named “PREPA Settlement Materials” on the left
     hand side of the site under “Quick Links” to obtain a copy of the Settlement Agreement. The Settlement
     Agreement will also be posted on the Electronic Municipal Market Access (EMMA) website of the
     Municipal Securities Rulemaking Board, currently located at http://emma.msrb.org, using the CUSIP
     numbers of the Uninsured Bonds eligible to participate in the settlement and agreements as described
     herein and in the Settlement Agreement.

     This notice contains summaries of the Settlement Agreement and is qualified in its entirety by reference
     to the Settlement Agreement. All registered and beneficial owners of the Uninsured Bonds are urged
     to review the Settlement Agreement in its entirety and to consult with their legal and financial
     advisors concerning any questions they have concerning the terms of the Settlement Agreement.

                                            The PREPA Title III Case

     On July 2, 2017 (the “Petition Date”), the Oversight Board filed a petition for relief for PREPA pursuant
     to section 304(a) of PROMESA 1 with the United States District Court for the District of Puerto Rico (the
     “Title III Court”), commencing a debt adjustment case under Title III of PROMESA, Case No. 17-bk-
     4780-LTS (the “Title III Case”). Pursuant to section 315(b) of PROMESA, the Oversight Board is the
     Title III representative of PREPA in PREPA’s Title III Case.

                                   The Amended Lien & Recourse Challenge
                                     Challenging the Validity of the Bonds

     This settlement offer applies to you if you are a beneficial holder of Uninsured Bonds issued by PREPA.
     As explained in more detail below, the validity of your Bonds and entitlement to payment have been
     challenged on two grounds: (1) the Oversight Board contends your Bonds are secured only by moneys
     in certain accounts that only amount to less than one percent (1.0%) of your claim; and (2) the Oversight
     Board contends your Bonds are not allowable claims against PREPA, but are only allowable claims
     against those certain accounts. If the Oversight Board prevails on both those contentions, your recovery

 1
     “PROMESA” is codified at Pub. L. No. 114–187, 130 Stat. 549 (2016), 48 U.S.C. 2101 et. seq.
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Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                   Desc:
                           Exhibit R Page 4 of 39


     will be less than one percent (1.0%) of your allowable Bond claims. If the Oversight Board prevails on
     its contention that the collateral securing your bonds is limited to what is in those certain accounts, but
     does not prevail on its contention that your bonds are not allowable claims against PREPA, your recovery
     will equal the recovery received by other general unsecured claimholders which may range from
     approximately forty percent (40.0%) to fifty percent (50.0)% of your allowable Bond Claims. If the
     Oversight Board does not prevail on its contention that the collateral securing your bonds is limited to
     what is in those certain accounts, but is rather secured by PREPA’s revenues, your allowable Bond
     Claims will likely be paid more than fifty percent (50.0%) on the dollar and could possibly be paid in
     full, depending on the Title III Court’s determination including as to PREPA’s responsibility to raise
     electricity prices and PREPA’s ability to collect more revenues as its customers are charged more for
     power.

     Rather than risking nearly no recovery on your Bond Claims, this settlement offer allows you to settle
     for payment in the form of new bonds of approximately half your claims with the possibility of receiving
     more depending on how many bondholders settle and the outcome of the litigation over the two
     contentions described above. Your allowable Bond claims for settlement purposes include all unpaid
     principal and interest accrued as of PREPA’s commencement of its Title III case on July 2, 2017, but
     excludes all interest accrued after that date. In exchange for eliminating the risk of nearly no recovery,
     your acceptance of the offer means that you also materially diminish the probability you will be paid in
     full or even more than the settlement offer if both the Oversight Board’s contentions are rejected and the
     Bondholders’ representatives prevail in the litigation.

     On July 1, 2019, the Oversight Board commenced an adversary proceeding against the Trustee (the
     “Amended Lien & Recourse Challenge”), by filing a complaint (subsequently amended), styled The
     Financial Oversight and Management Board for Puerto Rico v. U.S. Bank National Association, Adv.
     Proc. No. 19-00391-LTS, currently pending with the Title III Court, in which the Oversight Board asserts
     that the Trustee’s lien and security interest is limited to funds in certain deposit accounts held by the
     Trustee (the “Lien Scope Counts”) and that the Trustee’s claims with respect to the PREPA Revenue
     Bonds are recourse solely to such deposit accounts and are non-recourse (meaning they are not valid
     claims) against PREPA (the “Recourse Counts”). All filings with respect to the Amended Lien &
     Recourse      Challenge      can     be     found       at    https://cases.ra.kroll.com/puertorico/Home-
     DocketInfo?DocAttribute=4451&DocAttrName=ADVCASENO.19-00391.

     As of the date hereof, the various parties to the Amended Lien & Recourse Challenge, including the
     Oversight Board and the Trustee, have concluded briefing with respect to some of the most determinative
     claims, counterclaims, and defenses asserted in the Amended Lien & Recourse Challenge. The Title III
     Court has not issued any rulings with respect to the Amended Lien & Recourse Challenge, including
     with respect to the Lien Scope Counts or the Recourse Counts. The Title III Court has scheduled oral
     argument to be heard in connection with the Amended Lien & Recourse Challenge on February 1, 2023.

                                                The PREPA Plan

     On December 16, 2022, the Oversight Board filed its proposed plan of adjustment for PREPA in
     connection with PREPA’s Title III Case (as it may be further amended, modified, or supplemented from
     time to time as permitted by the Settlement Agreement, the “PREPA Plan”) 2 and a corresponding

 2
  The PREPA Plan can be accessed at this link:
 https://document.epiq11.com/document/getdocumentsbydocket/?docketId=977702&projectCode=PR1&docketNum
 ber=3110&source=DM. In the event of any inconsistency between this Notice and the PREPA Plan, the PREPA
 Plan shall control. All filed documents related to the Title III Case can be located at
 https://dm.epiq11.com/case/pr1/dockets.
                                                         3
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                        Desc:
                           Exhibit R Page 5 of 39


     proposed disclosure statement (the “Disclosure Statement”). As of the date hereof, the Disclosure
     Statement has not been approved and the PREPA Plan has not been confirmed by the Title III Court.

     The PREPA Plan provides holders of Bonds the option to be classified in one of two classes of claims.
     The first class is the class of holders of Uninsured Bonds 3 that desire to settle their claims against PREPA
     for the treatment described in the PREPA Plan for such class (the “Settling Class”). The second class
     is the class of holders or insurers of Bonds desiring to have their distributions depend largely on the
     outcome of the litigation described above (the “Non-Settling Class”). The scope of the security interest
     and the allowance of the claims of the Non-Settling Class will be determined in the Amended Lien &
     Recourse Challenge through, among other things, resolution by the Title III Court (or other court with
     appropriate jurisdiction, including any applicable appellate court) of the Lien Scope Counts and
     Recourse Counts. A ruling adverse to the Trustee in the Amended Lien & Recourse Challenge could
     eliminate the vast majority of the claims in the Non-Settling Class, resulting in such holders of claims in
     the Non-Settling Class receiving treatment on their claims substantially less than the treatment provided
     to the claims of Settling Class. Conversely, if the Trustee is successful in the Amended Lien & Recourse
     Challenge, the treatment provided to the claims of the Non-Settling Class could be substantially more
     than the treatment provided to the claims of the Settling Class.

     The Oversight Board, pursuant to the Settlement Agreement, as the Title III representative of PREPA,
     is offering holders of Bonds the opportunity to choose between joining the Settling Class and becoming
     a Settling Bondholder or remaining in the Non-Settling Class. A Settling Bondholder will, consistent
     with the Settlement Agreement, receive—subject to confirmation of the PREPA Plan— the treatment
     provided to the claims of the Settling Class in the PREPA Plan in exchange for the settlement of the
     Oversight Board’s claims in the Amended Lien & Recourse Challenge against the Trustee, as applied to
     the Uninsured Bonds held by the Settling Bondholders, including the Lien Scope Counts and the
     Recourse Counts. By opting into the Settling Class Settling Bondholders waive their right to object
     to confirmation and to participate in the Amended Lien & Recourse Challenge; however, they
     retain the right to vote to accept or reject the Plan, after approval of the Disclosure Statement.

                             Overview of Certain Terms of Settlement Agreement

     As described in greater detail in the Settlement Agreement, by signing the Settlement Agreement, a
     Settling Bondholder agrees (i) to become a member of the Settling Class and receive the treatment
     provided to holders of claims in such class in the PREPA Plan, as described in the Settlement Agreement,
     and (ii) to the settlements embodied in the Settlement Agreement, and to various covenants related
     thereto. Settling Bondholders shall also be entitled to certain rights, claims, and protections, in each case,
     subject to the terms of the Settlement Agreement. The following is a brief overview of certain terms of
     the Settlement Agreement relevant to the treatment given to the Settling Bondholders.

     •   Settling Claims: Pursuant to the PREPA Plan, Settling Bondholders shall have their claims allowed
         in an amount equal to the accrued and unpaid principal and interest on their Uninsured Bonds as of
         the Petition Date. On account of that claim, Settling Bondholders shall be entitled to receive from
         PREPA a minimum recovery of fifty percent (50.0%) of their allowed claims, consisting of:
                  (a) their pro rata share of the cash in the deposit account(s) held by the Trustee which are
                      subject to a perfected security interest in favor of the Trustee (collectively, the “Sinking
                      Fund”); and
                  (b) a distribution of Series B Bonds (as defined in the Term Sheet (as defined in the
                      Settlement Agreement)), such that the cash (received under subsection (a) above) and

 3
   If PREPA reaches a settlement with any insurers of bonds, the claims of such parties may be classified separately
 from the Uninsured Bonds.
                                                           4
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                       Desc:
                           Exhibit R Page 6 of 39


                     the face amount of the Series B Bonds received by each Settling Bondholder equals 50%
                     of the amount of the allowed claim. 4

     •   Settling Bondholders may receive additional distributions on their allowed claims depending on the
         result of the Amended Lien & Recourse Challenge. If the Oversight Board prevails on the Lien
         Scope Counts and/or Recourse Counts, such that New Bonds (as defined in the Term Sheet and
         Settlement Agreement) remain available for distribution after making the minimum distributions of
         New Bonds to Settling Bondholders and Non-Settling Bondholders, then the Settling Bondholders’
         will receive, after (i) the trust established for holders of general unsecured claims against PREPA
         receives the next distribution of New Bonds in a face amount sufficient to provide general unsecured
         claims fifty percent (50.0%) of the estimated value of their claims, and (ii) the trust established
         pursuant to the PREPA Plan to make payments to the PREPA pension system (for the benefit of
         PREPA pension beneficiaries) receives twenty percent (20.0%) of the Series B Bonds remaining
         after the distributions of Series B Bonds in (i), (A) forty percent (40.0%) of their pro rata share of
         remaining Series B Bonds available, and (B) if and only if the holders of general unsecured claims
         against PREPA and Fuel Line Lenders receive New Bonds in a face amount sufficient to pay them
         in full, up to the remaining sixty percent (60.0%) of their pro rata share of New Bonds.

     •   The Settling Bondholders will receive a contingent value instrument in an amount equal to their
         remaining portions of their allowed claims. The total recovery to be received by Settling Bondholders
         under the PREPA Plan is referred to herein as the “Settling Claims Recovery.”

     •   Non-settling Claims: Non-Settling Bondholders’ recovery is dependent on the outcome of the
         Amended Lien & Recourse Challenge.

             •   If the Oversight Board prevails on the Lien Scope Counts and Recourse Counts, then Non-
                 Settling Bondholders’ Claims receive only their pro rata share of the cash in the Sinking
                 Fund (less than one percent (1.0%) of such claims), and have no deficiency claim against
                 PREPA. If the class of Non-Settling Bondholders votes to accept the PREPA Plan, however,
                 they will receive a contingent value instrument that could pay up to the difference between
                 the unpaid principal and accrued interest on their claims as of the Petition Date and the
                 distributions made to them from the Sinking Fund, depending on future results. The
                 prospects of the contingent value instrument paying material amounts is very speculative.

             •   If the Oversight Board prevails on the Lien Scope Counts, but loses on the Recourse Counts,
                 then the Non-Settling Bondholders’ claims will receive a pro rata share of the Sinking Fund.
                 Any potential unsecured deficiency claim will share, pro rata, with all other non-settled
                 unsecured claims, in the recovery made available to holders of general unsecured claims.

             •   If the Oversight Board loses the Lien Scope Counts, but prevails on the Recourse Counts,
                 then the Non-Settling Bondholders’ claims will receive their pro rata share of remaining
                 New Bonds issued under the PREPA Plan in an amount equal to the value of PREPA’s assets
                 that are subject to a valid, perfected, and enforceable prepetition security interest in favor of
                 the Bond Trustee as determined pursuant to the Amended Lien & Recourse Challenge (the
                 “Bond Collateral”) after payment of the (i) Settling Bondholders’ allowed claims, (ii) the
                 Fuel Line Lenders’ (as defined in the Term Sheet and Settlement Agreement) allowed
                 claims, and (iii) National’s (as defined in the Term Sheet and Settlement Agreement)
                 allowed claims. Non-Settling Bondholders will have no unsecured deficiency claims against
 4
   Based upon the limited amount of cash currently held in such deposit accounts, the Oversight Board believes that
 the vast majority of the treatment provided to Settling Bondholders will be in the form of Series B Bonds.
                                                          5
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                  Desc:
                           Exhibit R Page 7 of 39


                PREPA.

            •   If the Non-Settling Bondholders prevail on both the Lien Scope Counts and the Recourse
                Counts, then the Non-Settling Bondholders’ claims will receive their pro rata share of
                remaining New Bonds issued under the PREPA Plan in an amount equal to the value of the
                Bond Collateral after payment of the (i) Settling Bondholders’ allowed claims, (ii) the Fuel
                Line Lenders’ (as defined in the Term Sheet (as defined in the Settlement Agreement))
                allowed claims, and (iii) National’s (as defined in the Term Sheet (as defined in the
                Settlement Agreement)) allowed claims. They will also receive a pro rata share of the
                recovery made available to holders of general unsecured claims on account of their
                deficiency claim.

   •   Transfer Covenants: By signing the Settlement Agreement, a Settling Bondholder agrees that it will
       transfer Uninsured Bonds solely in accordance with the terms of Section 6 of the Settlement
       Agreement, as follows: to a transferee (i) that is a Settling Bondholder; or (ii) who becomes a Settling
       Bondholder by executing the joinder contained in Appendix B to the Settlement Agreement.

   •   Termination of the Settlement Agreement: If any Settlement Agreement terminates, the parties to
       that Settlement Agreement will be restored to their original rights (including regarding the potential
       claims and proofs of claim and potential objections thereto), subject to, and as more fully set forth
       in, the Settlement Agreement.

   The below graphic depicts the projected recoveries for both Settling Bondholders and Non-Settling
   Bondholders based on various scenarios with respect to (i) the percentage of Bondholders that settle and
   do not settle and (ii) the outcome of the Lien Scope Counts and Recourse Counts in the Amended Lien
   & Recourse Challenge. The projections below are subject to material change.

                FOMB wins on Lien Scope           FOMB wins on Lien Scope           FOMB loses on Lien Scope
                Counts and Recourse               Counts and Loses on               Counts and Recourse
                Counts                            Recourse Counts                   Counts
0% Bonds        Settling Bonds       N/A          Settling Bonds        N/A         Settling Bonds        N/A
Settle          Non-Settling         0.21%        Non-Settling          46.42%      Non-Settling          51.41%
                Bonds                             Bonds                             Bonds
25% Bonds       Settling Bonds       100%         Settling Bonds        50.00%      Settling Bonds        50.00%
Settle          Non-Settling         0.28%        Non-Settling          45.38%      Non-Settling          51.88%
                Bonds                             Bonds                             Bonds
50% Bonds       Settling Bonds       69.99%       Settling Bonds        50.00%      Settling Bonds        50.00%
Settle          Non-Settling         0.42%        Non-Settling          43.48%      Non-Settling          52.81%
                Bonds                             Bonds                             Bonds
75% Bonds       Settling Bonds       56.26%       Settling Bonds        50.00%      Settling Bonds        50.00%
Settle          Non-Settling         0.84%        Non-Settling          38.91%      Non-Settling          52.81%
                Bonds                             Bonds                             Bonds
100% Bonds      Settling Bonds       50.00%       Settling Bonds        N/A         Settling Bonds        N/A
Settle          Non-Settling         N/A          Non-Settling          N/A         Non-Settling          N/A
                Bonds                             Bonds                             Bonds

   The foregoing is not a complete summary and is qualified in its entirety by reference to the Settlement
   Agreement. Beneficial owners and holders are encouraged to review the Settlement Agreement in its

                                                        6
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                 Desc:
                           Exhibit R Page 8 of 39


  entirety. Beneficial owners and holders should consult their bank, broker, or other financial or legal
  advisor in deciding whether to agree to be bound by the terms of the Settlement Agreement.

                      Rationale for Assignment of Alternative Identifying CUSIPs

  Settling Bondholders are, subject to the terms and conditions of the Settlement Agreement, entitled to their
  pro rata share of the Settling Claims Recovery. The rights to this Settling Claims Recovery and
  obligations of such Settling Bondholders “travel” with the Uninsured Bond if it is transferred to another
  Settling Bondholder. Accordingly, in order to separately identify the Uninsured Bonds that fall into this
  category, the Settlement Agreement provides for the assignment of alternative identifying CUSIPs to
  track beneficial interests in Uninsured Bonds that become subject to the Settlement Agreement from time
  to time, including on or prior to 5:00 p.m. ET on February 24, 2023. Although referred to in the below
  procedures as an “exchange,” the assignment of such alternative identifying CUSIPs does not change or
  cause a reissuance of the Uninsured Bonds or change the prepetition nature of claims arising from the
  Uninsured Bonds in any way. The terms of your Uninsured Bond remain the same regardless of your
  acceptance of the Settlement Agreement, but the beneficial owners thereof become subject to the terms,
  conditions, settlements, covenants and agreements of the Settlement Agreement. The new CUSIP merely
  provides an administrative mechanism for tracking the beneficial interests of existing Uninsured Bonds
  that became subject to the Settlement Agreement prior to 5:00 p.m. ET on February 24, 2023. There are
  no tax consequences resulting from the administrative change of CUSIP in respect of your Uninsured
  Bond.

  A beneficial owner of an Uninsured Bond that chooses not to join the Settlement Agreement will
  continue to hold its Uninsured Bonds unchanged from its current form and under its original CUSIP.
  Beneficial owners are encouraged to monitor the Kroll Restructuring Administration LLC (“Kroll” or
  the “Information and Tabulation Agent”) and EMMA websites for future information concerning their
  Uninsured Bonds.

  In the event that there is a termination of a Settlement Agreement pursuant to Section 10 thereof prior to
  the commencement of distributions contemplated by the Settlement Agreement, then, unless otherwise
  agreed to by the parties to the Settlement Agreement, the Oversight Board shall employ its reasonable
  efforts to cause the reassignment of the original CUSIPs of Uninsured Bonds that had been subject to
  that Settlement Agreement.

  The procedures for receiving such alternative identifying CUSIPs are set forth below.

                                  Procedures for Entering into the
                    Settlement Agreement and Assignment of Replacement CUSIPs

  Holders of Uninsured Bonds who enter into the Settlement Agreement do so with their understanding
  and their consent that their beneficial interests in Uninsured Bonds will be assigned a new replacement
  CUSIP to identify their beneficial interests in the Uninsured Bonds and their agreement to the terms of
  the Settlement Agreement. The assignment of such replacement CUSIP is referred to herein as an
  “exchange” for these limited administrative purposes only. The exchange will be a one-for-one
  exchange. It is anticipated that the Bonds identified by their new CUSIP will be delivered at the
  direction of PREPA on or before March 6, 2023 (the “Exchange Effective Date”).

  For those beneficial owners of Uninsured Bonds entering into the Settlement Agreement, in addition to
  providing the beneficial owners’ agreement by executing the Settlement Agreement through the delivery
  of a signature page in the form of Exhibit D hereto, Depository Trust Corporation (“DTC”) participants
  should make book-entry delivery of the consenting Uninsured Bonds by causing DTC to transfer such
                                                       7
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                 Desc:
                           Exhibit R Page 9 of 39


  Uninsured Bonds into the ATOP account established by the Information and Tabulation Agent, on behalf
  of and as agent for PREPA in accordance with DTC’s procedures for such transfer. Such book-entry
  delivery must be made on or prior to 5:00 p.m. ET on the Participation Date. Please note that transferring
  Uninsured Bonds into the Information and Tabulation Agent’s ATOP account alone is not sufficient to
  process the consent and exchange of a beneficial owner’s Uninsured Bonds; the signature page to the
  Settlement Agreement Consent Form (defined below) and the Settlement Agreement, in the form of
  Exhibit C and Exhibit D hereto, respectively, must also be delivered to the Information and Tabulation
  Agent to effectively process such consent and exchange.

  The Information and Tabulation Agent will establish an ATOP account with respect to all Uninsured
  Bonds at DTC for purposes of joining holders to the Settlement Agreement. DTC Participants should
  make book-entry delivery of the Uninsured Bonds by causing DTC to transfer such Uninsured Bonds into
  the Information and Tabulation Agent’s ATOP account in accordance with DTC’s procedures for such
  transfer. Concurrently with the delivery of the Uninsured Bonds through book-entry transfer into the
  Information and Tabulation Agent’s ATOP account at DTC, an Agent’s Message (as defined below) in
  connection with such book-entry transfer must be transmitted to and received by the Information and
  Tabulation Agent on or prior to the Participation Date. The confirmation of a book-entry transfer into
  the Information and Tabulation Agent’s ATOP account at DTC as described above is referred to herein
  as a “Book-Entry Confirmation.”

  “Agent’s Message” means a message transmitted by DTC to, and received by, the Information and
  Tabulation Agent’s ATOP account and forming a part of the Book-Entry Confirmation that states that
  DTC has received an express acknowledgment from the participants in DTC described in such Agent’s
  Message, stating the aggregate principal amount of the Uninsured Bonds that have been tendered by such
  participants pursuant to this notice and that such participants have received this notice, have reviewed the
  Settlement Agreement and agree to be bound by the Settlement Agreement’s terms and that PREPA may
  enforce such agreement against such participants.

  Unless the Uninsured Bonds being tendered are received in the Information and Tabulation Agent’s
  ATOP account on or prior to 5:00 p.m. ET on the Participation Date (accompanied by a properly
  transmitted Agent’s Message), the holders of such Uninsured Bonds will be deemed to have not joined the
  Settlement Agreement. Uninsured Bonds tendered into the ATOP account may be withdrawn until the
  Participation Date.

  Bulk tenders through ATOP are not permitted. Tenders must be submitted at the beneficial holder level
  into DTC’s ATOP system. Tenders through ATOP will be accepted in each Uninsured Bond’s minimum
  and multiple denominations.

  The form associated with consent to the Settlement Agreement (“Settlement Agreement Consent
  Form”), attached as Exhibit C hereto, must include all participating CUSIPs, principal amounts, and
  VOI (Voluntary Offering Instruction) IDs per beneficial owner. If there are any irregularities with what
  has been delivered via book entry into ATOP and what is provided on the Settlement Agreement Consent
  Form, consent to the Settlement Agreement will be considered ineffective until the irregularity is
  corrected. All Uninsured Bonds tendered through DTC’s ATOP will be restricted from further trading
  or transfer through the Exchange Effective Date for such participating Bonds in accordance with the
  terms of the Settlement Agreement.

  A signature page to the Settlement Agreement, in the form of Exhibit D hereto, must be signed by the
  beneficial owner of the participating Uninsured Bonds or its nominee (if the nominee is permitted to act
  as a signatory for the beneficial owner) and must be returned to the Information and Tabulation Agent
  through Kroll’s E-Portal system. If a beneficial owner holds multiple CUSIPs, the beneficial owner is
                                                       8
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                     Desc:
                           Exhibit R Page 10 of 39


  only required to sign one signature page to the Settlement Agreement for their entire principal amount
  of Uninsured Bonds consenting to the terms of the Settlement Agreement. Beneficial owners of
  Uninsured Bonds corresponding to two or more CUSIPs must tender all of their Uninsured Bonds
  through the execution of a single signature page of the Settlement Agreement according to the
  terms herein, in addition to tendering all of their bonds through DTC’s ATOP system. Once a
  beneficial owner has delivered a signature page to the Settlement Agreement, such signature page
  will be considered to have been delivered with respect to all of the Uninsured Bonds that beneficial
  owner holds.

  Beneficial owners of Insured Bonds are not individually eligible to become party to the Settlement
  Agreement and are not subject to the procedures set forth herein.

  A beneficial owner or its DTC nominee (if the DTC nominee is permitted to act as signatory for the
  beneficial owner) should return a signed signature page to the Settlement Agreement to Kroll, in the form
  of Exhibit D hereto, no later than the Participation Date, 5:00 p.m. ET on February 24, 2023, via Kroll’s
  E-Portal system. The information provided on the signature page and through the Information and Tabulation
  Agent’s E-Portal system must be disclosed at the beneficial owner level. To access the E-Portal System visit
  https://cases.ra.kroll.com/puertorico, click on “Submit Settlement Agreement Signature Page” section of the
  website and follow the instructions to complete and submit your Settlement Agreement signature page and
  associated information. Unless the Settlement Agreement signature page is received by the Information and
  Tabulation Agent on or prior to the Participation Date of 5:00 p.m. ET on February 24, 2023, the holders of such
  Uninsured Bonds will be deemed to have not joined the Settlement Agreement. Please do not submit hard
  copies or emailed copies of the Settlement Agreement signature page. The E-Portal is the only valid method
  of submission.

  Questions or requests for additional information may be directed to the Information and Tabulation
  Agent at:

                                    Kroll Restructuring Administration LLC
                                            Attn: Tiffany Archbell
                                       Tel: +1 (646) 486-7944. E-Mail:
                                        puertoricoballots@ra.kroll.com


 Dated: January 27, 2023




                                                         9
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                               Desc:
                           Exhibit R Page 11 of 39



                                              EXHIBIT A

 The table below lists the CUSIPS related to the uninsured bonds in which bondholders are able to participate
 through DTC’s ATOP program.

                                   Uninsured CUSIPs
                     74526QKK7 74526QZK1 74526QXW7                       74526QYA4
                     74526QLH3 74526QAJ1    74526QYH9                    74526QYM8
                     74526QZY1 74526QKN1 74526QYW6                       74526QYS5
                     74526QUT7 74526QLP5 74526QZH8                       74526QYY2
                     74526QWM0 74526QSX1 74526QZQ8                       74526QVC3
                     74526QXS6 74526QPG1 74526QKS0                       74526QWY4
                     74526QC67 74526QXT4 74526QVV1                       74526QYB2
                     74526QD66 74526QUW0 74526QSW3                       74526QYN6
                     74526QD74 74526QWQ1 74526QVU3                       74526QYT3
                     74526QD33 74526QXD9 74526QVA7                       74526QYZ9
                     74526QC83 74526QXK3 74526QWU2                       74526QZB1
                     74526QD25 74526QZE5 74526QXP2                       74526QYC0
                     74526QD82 74526QZL9    74526QXX5                    74526QZX3
                     74526QC75 74526QKP6 74526QYJ5                       74526QZZ8
                     74526QB92 74526QRN4 74526QYX4                       74526QEX6
                     74526QB84 74526QSN3 74526QKT8                       74526QYD8
                     74526QB76 74526QUX8 74526QLX8                       74526QZR6
                     74526QB68 74526QWR9 74526QVW9                       74526QA93
                     74526QC59 74526QXE7 74526QVB5                       74526QLZ3
                     74526QC26 74526QXL1 74526QVY5                       74526QYE6
                     74526QC42 74526QXU1 74526QWV0                       74526QKW1
                     74526QC34 74526QYF3 74526QXQ0                       74526QUH3
                     74526QD58 74526QYU0 74526QXY3                       74526QZS4
                     74526QC91 74526QZF2 74526QYK2                       74526QVD1
                     74526QD41 74526QZM7 74526QYQ9                       74526QVL3
                     74526QD90 74526QKQ4 74526QUF7                       74526QA77
                     74526QKL5 74526QSV5 74526QKU5                       74526QWB4
                     74526QLL4 74526QUY6 74526QNS7                       74526QWE8
                     74526QA51 74526QWS7 74526QSY9                       74526QA69
                     74526QA28 74526QXF4 74526QVZ2                       74526QKX9
                     74526QUU4 74526QXM9 74526QWC2                       74526QVF6
                     74526QWN8 74526QXV9 74526QWW8                       74526QVE9
                     74526QXB3 74526QYG1 74526QXR8                       74526QVX7
                     74526QXJ6 74526QYV8 74526QXZ0
                     74526QKM3 74526QZG0 74526QYL0
                     74526QA85 74526QZN5 74526QYR7
                     74526QZT2 74526QKR2 74526QZA3
                     74526QUV2 74526QSU7 74526QKV3
                     74526QWP3 74526QVT6 74526QNT5
                     74526QXC1 74526QUZ3 74526QWA6
                     74526QXH0 74526QWT5 74526QWD0
                     74526QZD7 74526QXN7 74526QWX6
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                           Exhibit R Page 12 of 39


 The table below lists the CUSIPS that are insured by a primary insurance policy. Accordingly, beneficial
 owners of such Insured Bonds and any custodian holding such Insured Bonds and a related secondary
 insurance policy are not eligible to sign the Settlement Agreement, are not able to tender such Insured
 Bonds, and should not sign the Settlement Agreement in respect of such Insured Bonds.

                                          Insured CUSIPs
                     7452684W9       74526QEJ7 74526QLR1              74526QPJ5
                     7452686K3       74526QLM2 7452688G0              74526QDF6
                     7452688A3       74526QEK4 74526QAM4              74526QLV2
                     74526QCE0       7452688D7 74526QCL4              74526QPK2
                     74526QEE8       74526QCH3 74526QDC3              74526QDG4
                     74526QEF5       74526QEL2 74526QER9              74526QLW0
                     74526QFA5       74526QEM0 74526QLS9              74526QPL0
                     74526QCT7       74526QCZ3 74526QLT7              74526QDH2
                     7452684X7       74526QLN0 74526QZC9              74526QLY6
                     7452686L1       7452688E5 74526QZP0              74526QPM8
                     7452688B1       74526QAK8 74526QCM2              74526QEW8
                     74526QCF7       74526QCJ9 74526QDD1              74526QEY4
                     74526QEG3       74526QDA7 74526QES7              74526QPN6
                     74526QLJ9       74526QEN8 74526QET5              74526QPP1
                     74526QLK6       74526QLQ3 74526QPH9              74526QPQ9
                     74526QCU4       7452688F2    74526QLU4           74526QAR3
                     7452686M9       74526QAL6 74526QZJ4              74526QPR7
                     7452688C9       74526QCK6 74526QDE9              74526QPS5
                     74526QAH5       74526QDB5 74526QCN0              74526QPT3
                     74526QCG5       74526QEP3 74526QEU2
                     74526QEH1       74526QEQ1 74526QEV0




                                                   11
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23   Desc:
                           Exhibit R Page 13 of 39



                                  EXHIBIT B

                              Settlement Agreement
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                     Desc:
                           Exhibit R Page 14 of 39



 THIS SETTLEMENT AGREEMENT IS NOT AN OFFER WITH RESPECT TO ANY
 SECURITIES OR A SOLICITATION OF ACCEPTANCES OR REJECTIONS OF A PLAN
 OF ADJUSTMENT FOR PURPOSES OF PROMESA TITLE III’S INCORPORATION OF
 SECTIONS 1125 AND 1126 OF THE BANKRUPTCY CODE, OR OTHERWISE. ANY
 SUCH OFFER OR SOLICITATION WILL COMPLY WITH ALL APPLICABLE
 SECURITIES LAWS AND/OR PROVISIONS OF PROMESA. NOTHING CONTAINED
 IN THIS AGREEMENT SHALL BE AN ADMISSION OF FACT OR LIABILITY OR,
 UNTIL THE OCCURRENCE OF THE AGREEMENT EFFECTIVE DATE ON THE
 TERMS DESCRIBED HEREIN, DEEMED BINDING ON ANY OF THE PARTIES
 HERETO.

 THIS SETTLEMENT AGREEMENT DOES NOT PURPORT TO SUMMARIZE ALL
 TERMS, CONDITIONS, REPRESENTATIONS, WARRANTIES, AND OTHER
 PROVISIONS WITH RESPECT TO THE TRANSACTIONS DESCRIBED HEREIN,
 WHICH TRANSACTIONS WILL BE SUBJECT TO THE COMPLETION OF
 DEFINITIVE DOCUMENTS INCORPORATING THE TERMS SET FORTH HEREIN
 AND THE CLOSING OF ANY TRANSACTION SHALL BE SUBJECT TO THE TERMS
 AND CONDITIONS SET FORTH IN SUCH DEFINITIVE DOCUMENTS AND THE
 APPROVAL RIGHTS OF THE PARTIES SET FORTH HEREIN AND IN SUCH
 DEFINITIVE DOCUMENTS THIS SETTLEMENT AGREEMENT CONTEMPLATES
 TO FACILITATE THE IMPLEMENTATION OF THE SETTLEMENT AGREEMENT.

                                SETTLEMENT AGREEMENT

         This Settlement Agreement (together with the exhibits attached hereto, which include,
 without limitation the Term Sheet (as defined herein) attached hereto as Appendix A, as each may
 be amended, restated, supplemented, or otherwise modified from time to time in accordance with
 the terms hereof, the “Agreement”) dated as of the date set forth below on the signature page of
 the Settling Bondholder is entered into by and among: (i) the Puerto Rico Electric Power Authority
 (“PREPA”) through the Financial Oversight and Management Board for Puerto Rico as PREPA’s
 Title III representative (“FOMB”); and (ii) any holder of Bonds (as defined herein) that are not
 insured under a primary insurance policy or secondary insurance policy (“Uninsured Bonds”) that
 determines to become party to this Agreement in accordance with the terms hereof (each such
 person, a “Settling Bondholder” and collectively, the “Settling Bondholders”). This Agreement
 collectively refers to the FOMB and each Settling Bondholder as the “Parties” and each
 individually as a “Party.”

                                           RECITALS

        WHEREAS, PREPA is the issuer of power revenue bonds and power revenue refunding
 bonds (together, the “Bonds”) issued and outstanding pursuant to that certain Trust Agreement,
 dated as of January 1, 1974, as amended, amended and restated, supplemented, or otherwise
 modified from time to time (the “Trust Agreement”), between PREPA and U.S. Bank National
 Association as successor trustee (the “Trustee”).
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                        Desc:
                           Exhibit R Page 15 of 39



         WHEREAS, on June 30, 2016, the Puerto Rico Oversight, Management, and Economic
 Stability Act was signed into law by the President of the United States (P.L. 114-187,
 “PROMESA”).

         WHEREAS, PROMESA created FOMB with certain powers over the finances and
 restructuring process with respect to the Commonwealth of Puerto Rico and its instrumentalities
 as provided for in PROMESA, and FOMB has designated PREPA as a Covered Territorial
 Instrumentality (as defined in PROMESA).

         WHEREAS, on July 2, 2017 (the “Petition Date”), FOMB filed a Title III petition on
 behalf of PREPA (the “Title III Case”) in the United States District Court for the District of Puerto
 Rico (the “Title III Court”).

         WHEREAS, the FOMB is the PROMESA Title III representative of PREPA in the Title
 III Case pursuant to PROMESA section 315(b).

          WHEREAS, on July 1, 2019, the FOMB filed a complaint and adversary proceeding
 against the Trustee styled The Financial Oversight and Management Board for Puerto Rico v. U.S.
 Bank National Association, Adv. Proc. No. 19-00391-LTS (as amended), currently pending in the
 Title III Court (the “Amended Lien & Recourse Challenge”).

         WHEREAS, on December 16, 2022, the FOMB filed the (i) proposed Title III Plan of
 Adjustment of the Puerto Rico Electric Power Authority [Case No. 17-bk-04780-LTS, ECF No.
 3110] (as amended from time to time, the “Plan”), pursuant to which the FOMB proposes to adjust
 the debts of PREPA, and (ii) the corresponding proposed Disclosure Statement for the Title III
 Plan of Adjustment of the Puerto Rico Electric Power Authority [Case No. 17-bk-04780-LTS, ECF
 No. 3111] (the “Disclosure Statement”).

         WHEREAS, consistent with the Plan and Disclosure Statement and this Agreement, the
 FOMB is offering to each holder of Uninsured Bonds the opportunity to have its claim for
 Uninsured Bonds classified in the class of Settling Bondholders’ claims and receive for its
 Uninsured Bond claims the treatment provided to that class under the Plan. Settling Bondholders
 will have the opportunity to vote to accept or reject the Plan upon receipt of a court-approved
 Disclosure Statement and balloting materials. If the Plan is confirmed, Settling Bondholders will
 receive the treatment provided to the Settling Bondholder pursuant to the Plan, with respect to each
 Settling Bondholder’s Uninsured Bonds, to be implemented in the manner as set forth in this
 Agreement.


         NOW, THEREFORE, in consideration of the covenants herein, each Party, intending to
 be legally bound hereby, agrees as follows:

 Section 1.    Agreement Effective Date. This Agreement shall become effective and binding
 upon each Party immediately following the execution and delivery of the Settling Bondholder’s




                                                  2
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                           Exhibit R Page 16 of 39



 signature to this Agreement, via The Depository Trust Company’s (“DTC”) Automatic Tender
 Offer Program (“ATOP”) (the date of such delivery, the “Agreement Effective Date”).

 Section 2.     Settlement. In settlement of (i) the Parties’ respective asserted rights and claims as
 set forth in the Amended Lien & Recourse Challenge, (ii) all claims arising from a Settling
 Bondholder’s Uninsured Bonds and the Trust Agreement, including without limitation any
 claimed security interest, right to receive current payments or interest, and/or right to receive
 adequate protection payments (if any), and (iii) any objection of the Settling Bondholder to
 confirmation of the Plan or assertion of rights under PROMESA Title III, the Parties covenant that
 (a) the Uninsured Bond claim of the Settling Bondholder shall be classified in the class of claims
 of “Settling Bondholders” under the Plan (i.e., Class 1 under the Plan, as it may be redesignated
 from time to time), and (b) the Plan, and each amendment, amendment and restatement,
 restatement, supplement, or modification thereto filed by the FOMB after the date hereof, and that
 becomes effective, shall, in every case, incorporate the treatment of the Settling Bondholder’s
 claims with respect to its Uninsured Bonds set forth on the term sheet attached hereto as
 Appendix A (the “Term Sheet”). For the avoidance of doubt, the Settling Bondholder shall retain
 the right to accept or reject the Plan upon receipt of a court-approved Disclosure Statement.
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them
 in the Term Sheet.

 Section 3.       Settlement Offer Termination Date. The deadline for a holder of Uninsured Bonds
 to return its signature to this Agreement in accordance with the terms hereof and bind the FOMB
 to this Agreement shall be 5:00 p.m. Eastern Standard Time on February 24, 2023 (the
 “Participation Date”); provided that the FOMB reserves the right to extend the Participation Date
 in its sole discretion. All signatures received by the FOMB after the Participation Date shall be
 void, and there shall be no Agreement Effective Date with respect to the Uninsured Bonds
 represented by such signature; provided the FOMB may accept such signatures received after the
 Participation Date in its sole discretion and shall notify you within ten (10) business days of receipt
 of your signature as to whether FOMB is accepting your signature page or not.

 Section 4.     Exhibits Incorporated by Reference. Each of the exhibits and schedules attached
 hereto is expressly incorporated herein and made a part of this Agreement, and all references to
 this Agreement shall include the exhibits.

 Section 5.     Covenants of the Parties.

         5.01. Covenants of the FOMB. From and after the date hereof, provided this Agreement
 has not been terminated, the FOMB shall take, and use its reasonable best efforts to cause PREPA
 to take, all actions necessary to obtain, and shall not encourage any other person to, take any action
 which would, or would reasonably be expected to, impede or preclude, the approval of the
 Disclosure Statement and the entry of a confirmation order with respect to the Plan (the
 “Confirmation Order”) and the consummation, implementation, and administration of the Plan,
 including the execution and delivery of all definitive documents required to implement the Plan,
 including an indenture governing the New Bonds (the “Definitive Documents”), provided that the
 Disclosure Statement, the Plan (and its consummation, implementation, and administration), and
 the other Definitive Documents are consistent with the terms herein. Such actions shall include,
 but not be limited to: (i) prosecuting, in a timely manner, the approval of the Disclosure Statement

                                                   3
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                           Desc:
                           Exhibit R Page 17 of 39



 and proposed confirmation schedule contemplating a confirmation hearing in or around July 2023
 (or any other date set by the Court), and confirmation of the Plan; (ii) proposing a Confirmation
 Order consistent with the terms herein and in the Term Sheet; (iii) causing the effective date of the
 Plan (the “Plan Effective Date”) to occur on or before June 30, 2024; and (iv) refraining from
 directly or indirectly commencing or supporting (or continuing to prosecute) any action or
 proceeding, or asserting any claim or objection, against any of the Settling Bondholders
 challenging their asserted security, priority, rights, and claims as set forth in the pleadings filed in
 the Amended Lien & Recourse Challenge, but solely as it relates to the Settling Bondholders;
 provided, however, the FOMB shall be entitled to prosecute the Amended Lien & Recourse
 Challenge against any party other than the Settling Bondholders, including, without limitation, the
 Trustee and any successor trustee for the Bonds, and any final judgment against any such party
 shall not adversely affect the Parties’ rights under this Agreement.

         5.02. Covenants of the Settling Bondholder. From and after the date hereof, provided
 this Agreement has not been terminated, the Settling Bondholder: (A) shall support, and not
 otherwise object to, (I) approval of the Disclosure Statement in accordance with section 1125 of
 the Bankruptcy Code, and (II) confirmation of the Plan in accordance with section 1129 of the
 Bankruptcy Code to the extent incorporated into PROMESA Title III and section 314 of
 PROMESA; provided, that a Settling Bondholder may vote to accept or reject, after receipt of a
 court-approved Disclosure Statement, the Plan, or abstain from voting, without such act, by itself,
 contravening the terms of this Agreement; (B) shall not commence, support (or continue to
 prosecute) and shall withdraw all its subpoenae, deposition notices, requests for production of
 documents, complaints, motions, and other requests for relief against PREPA or the FOMB,
 including, without limitation, any joinders relating to the Amended Lien & Recourse Challenge;
 and (C) shall support, and otherwise not, nor encourage any other person to, take any action which
 would, or would reasonably be expected to, breach or be inconsistent with the terms herein, or
 impede or preclude, the administration of the Title III Case, the confirmation of the Plan, the entry
 of the Confirmation Order, and the consummation, implementation, and administration of the Plan
 including the execution and delivery of the Definitive Documents provided that the Disclosure
 Statement, the Confirmation Order, the Plan (and their consummation, implementation and
 administration) and the PREPA Definitive Documents are materially consistent with the terms
 herein.

       5.03. Mutual Covenants of the Parties. Each of the Parties, severally and jointly,
 covenants that:

                     (a)     Subject to the terms and conditions hereof, such Party shall support, and
 otherwise not encourage any other person to take any action which would, or would reasonably be
 expected to, breach or be inconsistent with the terms herein or impede or preclude the filing of the
 Plan, including any amended Plan, the administration of the Title III Case, the approval of the
 Disclosure Statement, the entry of the Confirmation Order and the consummation, implementation,
 and administration of the Plan, including the execution and delivery of the Definitive Documents;
 provided that such Disclosure Statement, Confirmation Order, and Plan (and its consummation,
 implementation, and administration) and the other Definitive Documents are materially consistent
 with the terms herein and the Plan; and provided further, that the Settling Bondholder’s right to
 vote to accept or reject the Plan is reserved.


                                                    4
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                          Desc:
                           Exhibit R Page 18 of 39



                   (b)     Notwithstanding any other provision herein, this Agreement is not and
 shall not be deemed to be an offer with respect to any securities or solicitation of votes for the
 acceptance or rejection of a plan of adjustment for purposes of PROMESA and its incorporated
 sections 1125 and 1126 of the Bankruptcy Code, or otherwise.

                    (c)    Any such offer or solicitation will be made only in compliance with all
 applicable securities laws and provisions of PROMESA and the Bankruptcy Code provisions it
 incorporates, and will not be solicited until the Title III Court has approved the Disclosure
 Statement and related solicitation materials, and such Disclosure Statement and solicitation
 materials have been transmitted to parties entitled to receive same.

 Section 6.     Transfer of Claims and Interests.

                      (a)    For the period commencing as of the Agreement Effective Date until
 the termination of this Agreement as to any Settling Bondholder pursuant to the terms hereof, such
 Settling Bondholder shall not sell, assign, transfer, or otherwise pledge or dispose of (“Transfer”)
 any Uninsured Bonds beneficially owned or controlled by such Settling Bondholder, or any
 participation, voting, consent, or direction rights related to such Settling Bondholder, or any
 replacement thereof identifiable by a unique CUSIP in accordance with Section 8, except such
 Transfer may be made (i) if the transferee is a Settling Bondholder at the time of the Transfer or
 (ii) if the transferee is not a Settling Bondholder at the time of the Transfer, such transferee (a
 transferee pursuant to this clause (ii) or the immediately preceding clause (i), a “Qualified
 Transferee”) delivers to the Information and Tabulation Agent, at or prior to the consummation of
 the Transfer, the joinder agreement (the “Joinder Agreement”) attached hereto as Appendix B,
 pursuant to which such transferee shall assume all rights and obligations of such Settling
 Bondholder transferor hereunder (and such transferee if not already a Settling Bondholder, shall
 also be a “Settling Bondholder” hereunder). To the extent a Transfer violates the provisions of
 this section, the Transfer shall be void ab initio and the applicable Uninsured Bonds and the
 Settling Bondholder attempting the Transfer of the Uninsured Bonds shall continue to remain
 subject to the terms of this Agreement. This Agreement shall in no way be construed to preclude
 a Settling Bondholder from acquiring additional Uninsured Bonds; provided that such Settling
 Bondholder will be subject to Section 6 of this Agreement and shall comply with Section 5.02
 hereof with respect to such additional Uninsured Bonds.

                       (b)     Notwithstanding anything contained in this Agreement to the contrary:
 (i) a Settling Bondholder may Transfer any right, title, or interest in the Uninsured Bonds or any
 security identifiable by a unique CUSIP for which Uninsured Bonds are exchanged in accordance
 with Section 8 to a Qualified Marketmaker (as defined below), acting in its capacity as a Qualified
 Marketmaker, without the requirement that such Qualified Marketmaker be or become a Settling
 Bondholder; provided that such Qualified Marketmaker subsequently Transfers such right, title,
 or interest in the Uninsured Bonds to a Settling Bondholder or a Qualified Transferee within the
 date that is the earlier of (A) thirty (30) days after such Qualified Marketmaker’s acquisition of
 such right, title, or interest and (B) ten (10) business days prior to any voting deadline on the Plan
 (the “Marketmaker Holding Period”); and (ii) to the extent that a Settling Bondholder is acting in
 its capacity as a Qualified Marketmaker, it may Transfer any right, title, or interest in the Uninsured
 Bonds that the Qualified Marketmaker acquires from a holder of the Uninsured Bonds that is not
 a Settling Bondholder without the requirement that the transferee be or become a Settling

                                                   5
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                         Desc:
                           Exhibit R Page 19 of 39



 Bondholder. For the avoidance of doubt, upon expiration of the Marketmaker Holding Period, if
 the Qualified Marketmaker has not Transferred such right, title, or interest in the Uninsured Bonds
 to a Settling Bondholder or a Qualified Transferee, the Qualified Marketmaker shall be required
 to sign the Joinder Agreement, which Joinder Agreement shall be binding with respect to any
 Uninsured Bonds subject to this Settlement Agreement that are held by such Qualified Market
 maker in its capacity as a Qualified Marketmarker. Whether the Qualified Marketmaker signs a
 Joinder Agreement or not, upon expiration of the Marketmaker Holding Period, the Qualified
 Marketmaker (by accepting or otherwise participating in the Transfer of Uninsured Bonds subject
 to this Settlement Agreement) will be deemed to agree to refrain from voting the Uninsured Bonds
 on the Plan.

                   (c)     “Qualified Marketmaker” means an entity that: (i) holds itself out to the
 market as standing ready in the ordinary course of its business to purchase from customers and sell
 to customers debt securities such as the Uninsured Bonds or any security identifiable by a unique
 CUSIP for which Uninsured Bonds are exchanged in accordance with Section 8 or enter with
 customers into long and short positions in debt securities such as the Uninsured Bonds, in its
 capacity as a dealer or market maker in such Uninsured Bonds; (ii) is in fact regularly in the
 business of making a market in debt securities; and (iii) is registered with the Securities and
 Exchange Commission and Financial Institutions Regulatory Authority.

                   (d)     Any disclosures by any Settling Bondholder to any other Party of its
 holdings of Uninsured Bonds shall be treated as confidential information by such other Party
 unless such other Party receives such information through other means not subject to a duty of
 confidentiality.

                   (e)    In furtherance of the foregoing, the FOMB shall consent to assignments
 of the Uninsured Bonds in accordance with this Section 6, as applicable.

 Section 7.     Representations and Warranties.

         7.01. Mutual Representations and Warranties. Each Party hereby, severally and not
 jointly, represents and warrants to the other Party(ies) that the following statements are true and
 correct as of the date hereof (or in the case of a Qualified Transferee that is not a Settling
 Bondholder as of the date hereof, the date such Qualified Transferee becomes a Settling
 Bondholder):

                    (a)     such Party has the legal right, power, and authority to enter into this
 Agreement;

                   (b)     such Party, as applicable, is duly organized and validly existing and in
 good standing under the laws of the jurisdiction of its organization with full power and authority
 to execute and deliver, and to perform and observe the terms and provisions of, this Agreement;
 and

                      (c)    the execution, delivery, performance, and observance of this Agreement
 by such Party (i) has been duly authorized by all necessary action on the part of such Party, does
 not and will not conflict with, or result in a violation of, any law applicable to it, and does not
 require it to obtain any permit, consent, approval, order or authorization of, or provide notice to or
                                                   6
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                       Desc:
                           Exhibit R Page 20 of 39



 make a filing with, any court, governmental or regulatory agency or authority or other person or
 entity that has not been obtained, provided or made, as applicable, (ii) except to the extent
 modified, stayed, or otherwise excused by PROMESA, (A) with respect to the FOMB, does not
 contravene, or constitute a default under, any provision of applicable law or regulation or of any
 agreement, judgment, injunction, order, decree, or other instrument binding on the FOMB, as
 applicable and (B) with respect to each Party, do not and will not violate, conflict with, or result
 in the breach of any provision of its organizational or governance documents and (iii) does not and
 will not result in any breach of, constitute a default (or event which with the giving of notice or
 lapse of time, or both, would become a default) under, require any consent under or give to others
 any rights of termination, amendment, acceleration, suspension, revocation or cancellation of, any
 note, bond, mortgage, indenture, contract, agreement, lease, sublease, license, permit, franchise,
 or other instrument or arrangement to which it is a party, which would materially adversely affect
 its ability to carry out its obligations under and otherwise observe this Agreement or cause the
 occurrence of a Termination Event (defined below).

         7.02. Additional Representations of the Settling Bondholder. Each Settling Bondholder
 represents, warrants, and covenants to the FOMB that the following statements are true, correct,
 and complete as of the date of this Agreement (or in the case of a Qualified Transferee that is not
 a Settling Bondholder as of the date hereof, the date such Qualified Transferee becomes a Settling
 Bondholder) (each of which is a continuing representation, warranty, and covenant): that it
 beneficially owns, controls, has investment management responsibility for accounts that
 beneficially own or hold such Uninsured Bonds in the principal amounts set forth on its respective
 signature page hereto or Joinder Agreement (as applicable), which it would be entitled to vote in
 a plan solicitation as the holder of the claim with respect to such Bonds under section 1126 of the
 Bankruptcy Code, and that it has not sold, assigned, transferred, participated, or otherwise pledged
 such Uninsured Bonds, or any voting, consent, or direction rights related to such Uninsured Bonds,
 to any other person or entity, that would prevent or adversely affect in any way such Settling
 Bondholder’s performance of its obligations contained in this Agreement at the time such
 obligations are required to be performed, in each case, except as permitted by Section 6 of this
 Agreement.

 Section 8.      Assignment of Alternative Identifying CUSIPs. The FOMB covenants to employ
 its reasonable efforts to cause the assignment of alternative identifying CUSIPs to track beneficial
 interests in Uninsured Bonds that become subject to the Agreement. Uninsured Bonds with such
 alternative identifying CUSIPs shall remain Uninsured Bonds for all purposes of this Agreement
 and any holder thereof shall be bound by all applicable provisions of this Agreement. If this
 Agreement terminates under Section 10 prior to the Plan Effective Date, the FOMB covenants to
 employ its reasonable efforts to cause the reassignment of the original CUSIPs of Uninsured Bonds
 that had been subject to the Agreement.

 Section 9.     Amendments and Waivers. The terms and conditions of this Agreement, including
 any exhibits, annexes, or schedules to this Agreement, may not be waived, modified, amended, or
 supplemented without the written consents of (a) the FOMB and (b) the Settling Bondholder.

 Section 10.    Termination.



                                                  7
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                              Desc:
                           Exhibit R Page 21 of 39



          10.01. Mutual Consent. This Agreement may be terminated by the mutual written consent
 of (a) the FOMB and (b) the Settling Bondholder.

         10.02. Termination Events.

                      (a)       This Agreement may be terminated by (x) the FOMB or (y) the Settling
 Bondholder, in each case upon five (5) business days’ prior written notice delivered to the other
 aforementioned Parties after the occurrence of any of the following events (each, a “Termination
 Event”); provided, however, that this Agreement may be terminated (I) solely by the Settling
 Bondholder (and not the FOMB) upon the occurrence of a Termination Event set forth in clauses
 (ii) and (iii), below, (II) solely by the FOMB (and not the Settling Bondholder) upon the occurrence
 of a Termination Event set forth in clauses, (iv), (v), (vi), (vii), (viii), (ix), (x), and (xi) below, and
 (III) solely by a non-breaching Party with respect to a breaching Party or Parties upon the
 occurrence of the Termination Event set forth in clause (i) below:

                                                 (i)    following the delivery of written notice
                     thereof by a non-breaching Party, the continuation of a material breach by any
                     of the Parties of any of its obligations, representations, warranties, covenants,
                     or commitments set forth in this Agreement that is either unable to be cured or
                     is not cured within five (5) business days following the delivery of such notice;

                                              (ii)    the FOMB enters into, or formally supports,
                     a proposed transaction, disclosure statement, plan of adjustment, legislation,
                     confirmation order, or definitive documentation in connection therewith (by
                     amendment or otherwise) that would prevent or materially impair the Settling
                     Bondholder’s treatment on account of its claim consistent with the terms of this
                     Agreement;

                                                (iii) the formal determination by the FOMB
                     (A) not to proceed with the transactions materially consistent with the economic
                     treatment to be provided to the Settling Bondholder contemplated by this
                     Agreement or (B) to proceed with a transaction that would be materially
                     inconsistent with the economic treatment to be provided to the Settling
                     Bondholder contemplated by this Agreement;

                                               (iv)   the Plan Effective Date does not occur (or
                     cannot occur) on or before June 30, 2024;

                                                (v)    the Puerto Rico Energy Bureau (“PREB”)
                     fails or refuses to provide any required regulatory approval of the Legacy
                     Charge and the Title III Court or court of competent jurisdiction does not
                     require or deem PREB to provide such approval within sufficient time to allow
                     the Plan Effective Date to occur on or before June 30, 2024;

                                              (vi)    the Confirmation Order is reversed,
                     dismissed, or vacated and the Title III Court does not within one hundred and
                     eighty (180) days enter a revised order confirming the Plan reasonably
                     acceptable to the FOMB;
                                                     8
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                    Desc:
                           Exhibit R Page 22 of 39



                                         (vii) the Title III Court or other court of competent
               jurisdiction determines (A) the Oversight Board cannot separately classify the
               claims of the Settling Bondholders from one or more other classes of Bond
               claims in the Plan, (B) the Oversight Board must provide the Settling
               Bondholders treatment materially and adversely different than the treatment
               provided for in the Plan and consistent with this Agreement, or (C) the
               Oversight Board must provide substantially the same consideration to the Non-
               Settling Bondholders as provided to the Settling Bondholders pursuant to the
               terms of the Plan and consistent with this Agreement;

                                          (viii) a Settling Bondholder objects to confirmation
               of a plan of adjustment that complies with the Agreement;

                                          (ix)    confirmation of a plan of adjustment that
               complies with this Agreement is denied, or to confirm the Plan the Court
               requires the Oversight Board to further amend the Plan with respect to any
               provision set forth in the Settlement Summary, and the Oversight Board
               determines, in its sole and absolute discretion, not to make such amendment;

                                            (x)    the Settling Bondholder (a) directly or
               indirectly, supports, continues, or attempts to continue, claims, causes of action,
               and counterclaims of the Trustee and other co-defendants in the Amended Lien
               & Recourse Challenge against the FOMB or PREPA, or any related action or
               appeal thereto, (b) seeks relief from the automatic stay to pursue any rights or
               remedies under the Trust Agreement or Uninsured Bonds, (c) moves to dismiss
               the Title III Case, or (d) seeks any other relief materially adverse to PREPA or
               the FOMB;

                                        (xi)  FOMB determines the Agreement will
               impede or have an adverse impact on PREPA’s operational restructuring of its
               generation assets;

                                          (xii)   appointment of a receiver for PREPA;

                                         (xiii) the Title III Court enters an order
               (A) granting any relief that would impair the Parties’ ability to perform their
               respective obligations under this Agreement in any material respect, including,
               without limitation, denying confirmation of the Plan or (B) that is materially
               inconsistent with the Term Sheet; or

                                        (xiv) the Title III Court grants either (A) the
               Motion of the Ad Hoc Group of PREPA Bondholders, Assured Guaranty Corp.,
               Assured Guaranty Municipal Corp., National Public Finance Guarantee
               Corporation, and Syncora Guarantee, Inc. to Dismiss PREPA’s Title III Case,
               or for Relief from the Automatic Stay to Enforce Their Right to a Receiver
               (Docket Entry No. 22291 in Case No. 17-3283 and Docket Entry No. 2973 in
               Case No. 17-4780) or (B) the Motion of the Ad Hoc Group of PREPA

                                             9
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                       Desc:
                           Exhibit R Page 23 of 39



                    Bondholders, Assured Guaranty Corp., Assured Guaranty Municipal Corp.,
                    National Public Finance Guarantee Corporation, and Syncora Guarantee, Inc.
                    for Authorization to File a Combined Motion to Dismiss PREPA’s Title III Case
                    and Alternative Request for Relief from the Automatic Stay (Docket Entry No.
                    2971 in Case No. 17-4780).

                    (b)    This Agreement shall automatically terminate on the Plan Effective
 Date.

                   (c)    The date on which this Agreement is terminated in accordance with the
 provisions of Section 10.01, Section 10.02(a), and Section 10.02(b), shall be referred to as the
 “Termination Date”. On the Termination Date, all provisions of this Agreement shall terminate,
 except as otherwise provided in Section 10.03 of this Agreement, unless the FOMB and the
 Settling Bondholder waive, in writing, the occurrence of the Termination Event giving rise to the
 occurrence of such Termination Date.

                    (d)     If at any time a Settling Bondholder is no longer the beneficial owner of
 any Uninsured Bonds subject to this Agreement as a result of a Transfer that complies with
 Section 6 hereof, then this Agreement shall terminate solely as to such Settling Bondholder (but
 shall remain in effect with respect to the applicable Qualified Transferee), and such Settling
 Bondholder shall no longer be a Party hereto (i) unless such Settling Bondholder reacquires
 Uninsured Bonds and (ii) until such Settling Bondholder subsequently becomes a beneficial owner
 of any Uninsured Bonds whereupon it will automatically be deemed to be a Settling Bondholder
 under this Agreement.

                    (e)     No Party may terminate this Agreement upon a Termination Event if
 such Termination Event is the result of such Party unreasonably failing to perform or comply in
 any material respect with the terms and conditions of this Agreement; provided, however, that
 nothing in this Section 10 shall relieve any Party of liability for any breach or non-performance of
 this Agreement occurring prior to the Termination Date.

         10.03. Obligations of the FOMB Surviving Termination. From and after the Termination
 Date, the FOMB covenants to employ its reasonable efforts to cause the reassignment of the
 original CUSIPs of Uninsured Bonds that had been subject to this Agreement.

 Section 11.    Miscellaneous.

         11.01. Entire Agreement. This Agreement constitutes the entire agreement among the
 Parties with respect to the settlement restructuring process contemplated herein and supersedes all
 prior acts and agreements, oral, or written, among the Parties with respect thereto.

        11.02. Headings. The headings of all sections of this Agreement are inserted solely for
 the convenience of reference and are not a part of and are not intended to govern, limit, or aid in
 the construction or interpretation of any term or provision hereof.

     11.03. GOVERNING LAW; SUBMISSION TO JURISDICTION; SELECTION OF
 FORUM. THIS AGREEMENT IS TO BE GOVERNED BY AND CONSTRUED IN
 ACCORDANCE WITH THE LAWS OF THE STATE OF NEW YORK APPLICABLE TO

                                                 10
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                         Desc:
                           Exhibit R Page 24 of 39



 CONTRACTS MADE AND TO BE PERFORMED IN SUCH STATE, WITHOUT GIVING
 EFFECT TO ANY CONFLICT OF LAWS PRINCIPLES THEREOF THAT WOULD RESULT
 IN THE APPLICATION OF THE LAWS OF ANOTHER JURISDICTION. Each Party shall
 bring any action or proceeding in respect of any claim arising out of or related to this Agreement
 in the Title III Court (or court of proper appellate jurisdiction) (the “Chosen Court”), and solely in
 connection with claims arising under this Agreement: (a) irrevocably submits to the personal
 jurisdiction of the Chosen Court; (b) waives any objection to laying venue in any such action or
 proceeding in the Chosen Court; and (c) waives any objection that the Chosen Court is an
 inconvenient forum or does not have jurisdiction over any Party hereto. If the Title III Court
 determines it lacks subject matter jurisdiction and the determination becomes final and no longer
 subject to appeal, the action shall be brought in the United States District Court for the Southern
 District of New York if it has subject matter jurisdiction, and otherwise brought in the New York
 Supreme Court in Manhattan.

      11.04. Trial by Jury Waiver. EACH PARTY HERETO IRREVOCABLY WAIVES ANY
 AND ALL RIGHT TO TRIAL BY JURY IN ANY LEGAL PROCEEDING ARISING OUT OF
 OR RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
 HEREBY.

        11.05. Execution of Agreement. This Agreement may be executed and delivered in any
 number of counterparts and by way of electronic signature and delivery, each such counterpart,
 when executed and delivered, shall be deemed an original, and all of which together shall constitute
 the same agreement. Except as expressly provided in this Agreement, each individual executing
 this Agreement on behalf of a Party represents by his or her signature that he or she has been duly
 authorized and empowered to execute and deliver this Agreement on behalf of said Party.

         11.06. Rules of Construction. When a reference is made in this Agreement to a section or
 exhibit, such reference shall be to a section or exhibit, respectively, of or attached to this
 Agreement unless otherwise indicated. Unless the context of this Agreement otherwise requires,
 (a) words using the singular or plural number also include the plural or singular number,
 respectively, (b) the terms “hereof,” “herein,” “hereby” and derivative or similar words refer to
 this entire Agreement, (c) the words “include,” “includes” and “including” when used herein shall
 be deemed in each case to be followed by the words “without limitation,” and (d) the word “or”
 shall not be exclusive and shall be read to mean “and/or.” “Writing,” “written” and comparable
 terms refer to printing, typing and other means of reproducing words (including electronic media)
 in a visible form, and any requirement that any notice, consent or other information shall be
 provided “in writing” shall include email. Any reference to “business day” means any day, other
 than a Saturday, a Sunday or any other day on which banks located in New York, New York are
 closed for business as a result of federal, state or local holiday and any other reference to day
 means a calendar day.

         11.07. Successors and Assigns; No Third Party Beneficiaries. This Agreement is intended
 to bind and inure to the benefit of the Parties and their respective successors and permitted actual
 assigns, as applicable. There are no third party beneficiaries under this Agreement, and the rights
 or obligations of any Party under this Agreement may not be assigned, delegated, or transferred to
 any other person or entity, except as permitted herein.


                                                  11
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                         Desc:
                           Exhibit R Page 25 of 39



         11.08. Notices. All notices hereunder shall be deemed given if in writing and delivered
 by electronic mail, courier, or registered or certified mail (return receipt requested) (and if by any
 method other than electronic mail, then with a copy by electronic mail) to the following addresses
 (or at such other addresses as shall be specified by like notice):

                    if to the FOMB, to:

                                Proskauer Rose LLP
                                11 Times Square
                                New York, NY 10036
                                Attention: Martin J. Bienenstock, Paul V. Possinger, Ehud Barak,
                                and Joshua A. Esses
                                Email: mbienenstock@proskauer.com;
                                ppossinger@proskauer.com; ebarak@proskauer.com;
                                jesses@prosakuer.com

                    if to the Settling Bondholder(s) set forth on the signature pages below, to the
                            notice addresses set forth on such pages:

 or such other address as may have been furnished by a Party to each of the other Parties by notice
 given in accordance with the requirements set forth above. Any notice given by delivery, mail
 (electronic or otherwise), or courier shall be effective when received.

        11.09. Independent Analysis. Each Party hereby confirms that its decision to execute this
 Agreement has been based upon its independent assessment of documents and information
 available to it, as it has deemed appropriate.

         11.10. Waiver. No Party shall be deemed to have waived any rights as a result of its entry
 into this Agreement, and, if this Agreement is terminated for any reason, the Parties fully reserve
 any and all of their rights.

         11.11. Relationship Among Parties. Notwithstanding anything herein to the contrary:
 (a) the agreements, representations, warranties, liabilities, duties, and obligations of the Parties
 under this Agreement are, in all respects, several and not joint and several; (b) no Party shall have
 any responsibility by virtue of this Agreement for any trading by any other unaffiliated entity;
 (c) no prior history, pattern, or practice of sharing confidences among or between the Parties shall
 in any way affect or negate this Agreement; (d) the Parties hereto acknowledge this Agreement
 does not constitute an agreement, arrangement or understanding with respect to acting together for
 the purpose of acquiring, holding, voting, or disposing of any securities of PREPA and the Parties
 do not constitute a “group” within the meaning of Rule 13d-5 under the Securities Exchange Act
 of 1934, as amended; (e) none of the Parties shall have any fiduciary duty, any duty of trust or
 confidence in any form, or other duties or responsibilities in any kind or form to each other; and
 (f) no action taken by any Party pursuant to this Agreement shall be deemed to constitute or to
 create a presumption by any of the Parties that the Parties are in any way acting in concert or as
 such a “group.”

        11.12. Specific Performance. Each of the Parties acknowledges that money damages are
 an insufficient remedy for any breach of this Agreement by any Party and each non-breaching
                                                  12
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                        Desc:
                           Exhibit R Page 26 of 39



 Party shall be entitled to seek specific performance and injunctive or other equitable relief as a
 remedy of any such breach of this Agreement, including, without limitation, an order of the Title
 III Court or such other court of competent jurisdiction requiring, in accordance with applicable
 law, any Party to comply promptly with any of its obligations hereunder. Notwithstanding
 anything contained in this Agreement to the contrary, specific performance and injunctive or other
 similar relief and the right to terminate this Agreement in accordance with the terms and provisions
 hereof shall be the sole and exclusive remedies for any breach of this Agreement by any Party (or
 any other person) and no Party (or any other person) shall be entitled to monetary damages for any
 breach of any provision of this Agreement.

         11.13. Severability and Construction. If any provision of this Agreement shall be held by
 a court of competent jurisdiction to be illegal, invalid, or unenforceable, in whole or in part, the
 Parties shall negotiate in good faith to modify this Agreement so as to effect the original intent of
 the Parties as closely as possible in a reasonably acceptable manner in order that the transactions
 contemplated hereby are consummated as originally contemplated to the greatest extent possible
 if the new agreement provides each Party with an economic outcome not materially adverse to its
 original economic outcome. If the same economics are not reconstructed without material change,
 this Agreement shall terminate with each Party restored to its rights upon entering into this
 Agreement.

        11.14. Public Disclosure. Any public filing of this Agreement, with the Title III Court or
 otherwise, that includes executed signature pages to this Agreement shall include such signature
 pages only in redacted form with respect to the Uninsured Bonds held by the Settling Bondholder,
 unless otherwise required by the Title III Court or applicable law.

                            [Remainder of page intentionally left blank.]




                                                  13
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23   Desc:
                           Exhibit R Page 27 of 39



                        Appendix A to Settlement Agreement


                                   Term Sheet
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                        Desc:
                           Exhibit R Page 28 of 39



                                                   TERM SHEET

 This Term Sheet does not address all material terms that would be required in definitive documents
 and in order to consummate the transactions set forth in this Term Sheet. Such definitive
 documents, including the New Master Indenture (as defined in the Plan) shall be consistent with
 the Settlement Agreement, this Term Sheet, and the Plan. Nothing in this Term Sheet shall
 constitute an admission or representation of any fact or circumstance or an admission of any
 liability or waiver of any right or claim.

 Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in
 the Plan Support and Settlement Agreement to which this Term Sheet is annexed (the
 “Agreement”).

         CLAIM                   Each claim of a Settling Bondholder shall be deemed allowed (not
     ALLOWANCE AND                subject to challenge, objection, or revocation) in the aggregate
     CLASSIFICATION               amount equal to the principal amount of the Bonds held by such
                                  holder plus interest accrued and unpaid on such Bonds through the
                                  Petition Date (collectively, the “Settling Bondholder Prepetition
                                  Claim Amount”) and will collectively be treated as one class of
                                  claims, distinct from all other classes of claims, including the classes
                                  of Bonds held by holders that are not Settling Bondholders.
     CONSIDERATION               By signing the Agreement, the Settling Bondholder elects and agrees
     TO BE RECEIVED               to be classified in the class of “Settling Bondholders” under the Plan.
       BY SETTLING               On behalf of its allowed Uninsured Bond claim, each Settling
     BONDHOLDERS IF               Bondholder shall receive:
     THE DISCLOSURE
      STATEMENT IS                       -    Such Settling Bondholder’s pro rata share of funds
      APPROVED AND                            deposited in the Sinking Fund, 1 with respect to such
         PLAN IS                              Settling Bondholder’s Uninsured Bonds;
       CONFIRMED                         -    Series B Bonds (defined below), including Series B-1
                                              Bonds and/or Series B-2 Bonds (each defined below) in the
                                              Oversight Board’s sole discretion, in the face amount equal
                                              to fifty percent (50.0%) times the amount of such Settling
                                              Bondholder’s allowed claim minus the amount distributed
                                              to such Settling Bondholder from the Sinking Fund;
                                         -    If the FOMB and PREPA prevail in, or agree to a settlement
                                              of, the Amended Lien & Recourse Challenge, and as a
                                              result there exist Series B Bonds to be issued under the Plan
                                              available for distribution in excess of Series B Bonds
                                              allocated for initial treatment of claims, the Settling
                                              Bondholder will receive, after (i) the trust established for
                                              holders of general unsecured claims against PREPA
                                              receives the next distribution of New Bonds in a face

 1
   “Sinking Fund” means the deposit account(s) held by the Trustee which are subject to a perfected security interest
 in favor of the Trustee, for the benefit of the holders of the Bonds.
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                       Desc:
                           Exhibit R Page 29 of 39



                                             amount sufficient to provide general unsecured claims 50%
                                             of the estimated value of their claims, and (ii) the trust
                                             established pursuant to the PREPA Plan to make payments
                                             to the PREPA pension system (for the benefit of PREPA
                                             pension beneficiaries) receives 20% of the Series B Bonds
                                             remaining after the distributions of Series B Bonds in (i),
                                             (A) 40% of their pro rata share of remaining Series B
                                             Bonds available, and (B) if and only if the holders of
                                             general unsecured claims against PREPA and Fuel Line
                                             Lenders 2 receive New Bonds in a face amount sufficient to
                                             pay them in full, up to the remaining 60% of their pro rata
                                             share of New Bonds, but not more New Bonds than would
                                             cause their allowed Uninsured Bond claim to be paid in
                                             full.
                                         -   Such Settling Bondholder’s pro rata share of CVI 3 along
                                             with all other creditors of PREPA entitled to receive CVI
                                             pursuant to the Plan, with the Settling Bondholder’s pro
                                             rata share being computed based on the amount of its
                                             allowed claim not satisfied by the foregoing consideration.
      NEW BONDS              Other than cash consideration paid on the Plan Effective Date,
                              reorganized PREPA (“Reorganized PREPA”) shall issue on the Plan
                              Effective Date to PREPA’s creditors only Series A Bonds (defined
                              below) and Series B Bonds (defined below).
     LEGACY CHARGE           “Legacy Charge” means a hybrid connection charge and volumetric
                              charge to be added to PREPA’s rate to fund payment of the New
                              Bonds.
       REMAINING             “Remaining Legacy Charge” means the Legacy Charge, from and after
     LEGACY CHARGE            the date on which the New Bonds are defeased and until the CVI
                              maturity date.
     SERIES A BONDS          “Series A Bonds”, which will be issued only to the Fuel Line Lenders,
                              will have first priority of principal repayment following payment of
                              accrued interest on all outstanding New Bonds.
                             If unpaid at the Series A Bonds’ final maturity, the Series A Bonds will
                              remain outstanding until paid in full in cash, but will cease accruing
                              interest as of the Series A Bonds’ final maturity.

 2
   “Fuel Lien Lenders” means the lenders of the principal amount of loans and other financial accommodations
 (including interest accrued and unpaid through the Petition Date) pursuant to (i) the Credit Agreement dated May 4,
 2012, by and among PREPA, Scotiabank de Puerto Rico, and certain lenders (as amended, amended and restated,
 supplemented or otherwise modified from time to time) and (ii) the Trade Finance Facility Agreement, dated July 20,
 2012, by and between PREPA and Citibank, N.A. (as amended, amended and restated, supplemented or otherwise
 modified from time to time), and the loans and advances issued under each).
 3
   “CVI” means a contingent value instrument to be issued by Reorganized PREPA with a maturity date of thirty-five
 (35) years after the Plan Effective Date, payable from the revenues attributable to the Remaining Legacy Charge from
 and after the date on which all Series B Bonds have been indefeasibly paid in full in cash.

                                                          2
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                  Desc:
                           Exhibit R Page 30 of 39



     SERIES B BONDS         “Series B Bonds,” consisting of the “Series B-1 Bonds” and the
                             “Series B-2 Bonds”, the primary terms of which are described below
                             (and, together with the Series A Bonds, the “New Bonds”), shall be
                             distributed to (a) Settling Bondholders as described in the section of
                             this Term Sheet titled “Consideration to Be Received by Settling
                             Bondholders” and (b) other creditors of PREPA.
                            No principal shall be paid on the Series B Bonds until the Series A
                             Bonds have been paid in full in cash. Thereafter, Series B Bonds shall
                             receive 100% of the Legacy Charge revenues, in accordance with the
                             Payment Waterfall, which shall be applied first to interest due and
                             owing, and second to principal.
                            If unpaid at the Series B Bonds’ final maturity, the Series B Bonds will
                             remain outstanding until paid in full in cash, but will cease accruing
                             interest as of the Series B Bonds’ final maturity.
     FINAL MATURITY         Series A Bonds: fifteen (15) year stated final maturity 4 (five (5) year
                             expected repayment; three (3) year expected weighted average life).
                            Series B-1 Bonds: fifty (50) year stated final maturity (thirty-four (34)
                             year expected repayment); (21.81 year expected weighted average
                             life).
                            Series B-2 Bonds: fifty (50) year stated final maturity (thirty-four (35)
                             year expected repayment); (34.51 year expected weighted average
                             life).
                              Expected repayment periods are based on PREPA fiscal plan demand,
                              customer data, and proposed rates, subject to the Payment Waterfall
                              (defined below).
        COUPON              Series A Bonds: 6.00% cash interest; senior to Series B Bonds
                            Series B-1 Bonds: 6.00% cash interest; senior to Series B-2 Bonds
                            Series B-2 Bonds: convertible capital appreciation bonds, bearing
                             interest at a rate of six and seventy-five one-hundredths percent
                             (6.75%) per annum, accreting annually until July 1, 2028, at which
                             point the Series B-2 Bonds shall convert to paying interest semi-
                             annually
          CALL              Series A Bonds: Callable after ten (10) years at par
      PROTECTION            Series B Bonds: Callable after ten (10) years at par plus accreted
                             value, if any
       SECURITY             The New Bonds shall be secured by, and paid solely from,
                             Reorganized PREPA’s Net Revenues, 5 and the right to receive such

 4
   Subject to modification based on agreed upon covenants and Legacy Charge, to be negotiated among the FOMB and
 the Fuel Line Lenders (defined below).
 5
   “Net Revenues” means Revenues (defined below) minus Operating Expenses.
 “Revenues” means all moneys received by Reorganized PREPA, including the income derived by Reorganized

                                                       3
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                     Desc:
                           Exhibit R Page 31 of 39



                               Net Revenues, up to the amount of the Legacy Charge revenues, in
                               accordance with the Payment Waterfall.
    ACCOUNTS AND             All Revenues shall be deposited in the general fund held by
      PAYMENT                 Reorganized PREPA.
     WATERFALL               Reorganized PREPA shall apply or transfer, as applicable, Revenues in
                              the amounts and in the order of priority set forth in the New Master
                              Indenture (the “Payment Waterfall”); provided that the Payment
                              Waterfall set forth in the New Master Indenture shall provide that
                              Revenues will be (i) first, applied by Reorganized PREPA to the
                              payment of Operating Expenses, (ii) second, transferred by
                              Reorganized PREPA to the New Master Trustee for the payment of the
                              New Master Trustee’s fees and expenses not to exceed one hundred
                              thousand dollars ($100,000) per year, and (iii) third, transferred to the
                              New Master Trustee for deposit to the credit of the Debt Service Fund
                              in an amount sufficient to pay debt service on all outstanding New
                              Bonds, up to the amount of the Legacy Charge revenues and, from and
                              after the New Bond are defeased and until the CVI maturity date, up to
                              the amount of the Remaining Legacy Charge revenues.
    DEBT SERVICE             From and after the Plan Effective Date, until the New Bonds,
       FUND                   refunding Bonds, and/or CVI have been paid or satisfied in full in
                              accordance with their terms, Reorganized PREPA shall deposit, in
                              accordance with the Payment Waterfall, Net Revenues up to the
                              amount of the Legacy Charge revenues with respect to the New Bonds
                              and up to the amount of the Remaining Legacy Charge revenues with
                              respect to the CVI to the credit of the Debt Service Fund. 6
                             Such monies deposited in the Debt Service Fund shall be applied, to
                              the extent available, as follows:
                                        -   New Bonds
                                                 o First, to the payment of stated interest due and
                                                   payable on the New Bonds;
                                                 o Second, to the payment of principal on the Series A
                                                   Bonds and any refunding Bonds issued to refund the
                                                   Series A Bonds until repaid indefeasibly in full in
                                                   cash or otherwise deemed not to be outstanding in
                                                   accordance with the terms of the New Master
                                                   Indenture; and


 PREPA from the sale of electricity generated or distributed, including, but not limited to, the Legacy Charge, any
 proceeds of use and occupancy insurance or any part thereof, and income from investments made by Reorganized
 PREPA; provided, however, that all funds from any federal or Commonwealth government grants, governmental
 appropriations, or government loans shall be deemed to not be Revenues for purposes of this definition and the New
 Master Indenture (as defined in the Plan).
 6
   “Debt Service Fund” means the fund held by the New Master Trustee into which Reorganized PREPA shall deposit
 Net Revenues in accordance with the Payment Waterfall.

                                                         4
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                  Desc:
                           Exhibit R Page 32 of 39



                                     o Third, to the payment of principal on the Series B
                                       Bonds and any refunding Bonds (other than the
                                       refunding bonds described in Second above) until
                                       repaid indefeasibly in full in cash or otherwise
                                       deemed not to be outstanding in accordance with
                                       the terms of the New Master Indenture.
                             -   CVI
                                     o Then, to the payment of the CVI.
     NO RATE        After the Series A Bonds have been paid in full, the Series B Bonds
     COVENANT        shall not have the benefit of any interest rate covenant or ability to
                     initiate a rate case before PREB or any other proceeding to compel
                     PREB to implement an increase in the Legacy Charge sufficient to
                     repay interest due and payable on the New Bonds in the succeeding
                     fiscal year, including, if, in any given year, the Legacy Charge
                     revenues deposited in the Debt Service Fund for the New Bonds are
                     insufficient to satisfy the interest due and owing on the New Bonds
                     that fiscal year.
     PAYMENT        There shall be no event of default on the New Bonds for failure to pay
     DEFAULT         scheduled debt service prior to the final maturity, as applicable, so long
                     as Reorganized PREPA charges and employs its reasonable best efforts
                     to collect revenues generated by the Legacy Charge, and the full
                     amount collected under the Legacy Charge is deposited into the Debt
                     Service Fund for the New Bonds in accordance with the Payment
                     Waterfall.
     REMEDIES       Upon the occurrence of an event of default, the New Bond trustee’s
                     sole remedies shall be to seek enforcement of Reorganized PREPA’s
                     obligation to take reasonable measures to collect revenues generated
                     by the Legacy Charge and deposit such monies received into the Debt
                     Service Fund for the new Bonds in accordance with the Payment
                     Waterfall.
                    The Plan and indenture for the New Bonds shall provide the “Right to
                     Receivership Upon Default,” codified at 22 L.P.R.A. § 207, are
                     preempted as inconsistent with PROMESA. There shall be no right of
                     acceleration under the New Bonds other than an acceleration in
                     connection with an insolvency proceeding (including under Title III of
                     PROMESA).
    FEDERALLY-      In the event of a federally-declared disaster as a result of a storm or
     DECLARED        other catastrophic event that disrupts Reorganized PREPA’s operations
     DISASTERS       such that Reorganized PREPA cannot collect Legacy Charge revenue
                     necessary to cover Operating Expenses and the debt service payable on
                     the New Bonds for a given fiscal year, Reorganized PREPA may elect,
                     in its sole discretion, to defer debt service on up to two (2) consecutive
                     semi-annual debt service payments.

                                            5
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                 Desc:
                           Exhibit R Page 33 of 39



                    For the avoidance of doubt, if Reorganized PREPA exercises such
                     election, interest on the New Bonds will continue to accrete until paid.
                     All deferred principal and interest related to such New Bonds impacted
                     by such election shall be paid on or before the earlier of the respective
                     New Bonds’ final maturity or five (5) years after the end of such debt
                     service deferral period.
    DEFINITIVE      The New Bonds shall be documented under an indenture or trust
  DOCUMENTATION      agreement on the terms set forth in this Term Sheet and otherwise on
                     terms customary for transactions of this type.
      RELEASE       The Parties shall release each other to the maximum extent permitted
                     by law. At the request of the FOMB, the Settling Bondholder shall
                     release any other party in interest that may be liable on account of the
                     Uninsured Bonds.




                                            6
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23   Desc:
                           Exhibit R Page 34 of 39



                       Appendix B to Settlement Agreement

                                Form of Joinder
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                      Desc:
                           Exhibit R Page 35 of 39



                                  FORM OF JOINDER AGREEMENT

      (TO BE EXECUTED BY THE TRANSFEREE PRIOR TO ANY TRANSFER IN
     CONNECTION WITH THE UNINSURED BONDS ALTERNATIVE IDENTIFYING
           CUSIPS FOLLOWING THE AGREEMENT EFFECTIVE DATE) 1

        This Joinder Agreement (this “Joinder Agreement”) to the Settlement Agreement (as
 amended, supplemented, or otherwise modified from time to time, the “Agreement”), dated as of
 the Agreement Effective Date by and among: (i) the Financial Oversight and Management Board
 for Puerto Rico (“FOMB”), as Title III representative of the Puerto Rico Electric Power Authority
 (“PREPA”), and (ii) the Settling Bondholder, is executed and delivered by
 [____________________________________________] (the “Joining Settling Bondholder”) as
 of _________, 202_. Each capitalized term used herein but not defined herein shall have the
 meaning set forth in the Agreement.

                1.       Agreement to be Bound. The Joining Settling Bondholder hereby agrees to
 be bound by all of the terms of the Agreement, including that the Joining Settling Bondholder shall
 assume all rights and obligations of a Settling Bondholder under the Agreement. The Joining
 Settling Bondholder shall hereafter be deemed to be a “Settling Bondholder” and a Party for all
 purposes under the Agreement, including for the avoidance of doubt with respect to any Uninsured
 Bonds held by the Joining Settling Bondholder and subject to a separate plan support agreement
 with the FOMB as of the date of this Joinder Agreement.

                2.      Representations and Warranties. With respect to the aggregate principal
 amount of Uninsured Bonds held by the Settling Bondholder, including upon consummation of
 Transfer of Uninsured Bonds to the Joining Settling Bondholder, the Joining Settling Bondholder
 hereby makes, as of the date hereof, the representations and warranties of the Settling Bondholder
 set forth in Section 7.01 and Section 7.02 of the Agreement to each of the other Parties to the
 Agreement.

                 3.      Nominees/custodians. If this Joinder Agreement is executed by a
 nominee/custodian on behalf of a Settling Bondholder, the nominee/custodian hereby certifies that
 (i) this Joinder Agreement is executed and delivered by the entity detailed below on behalf of its
 client, the beneficial owner of the Uninsured Bonds listed below, (ii) this signature page delivered
 to Kroll Restructuring Administration LLC (acting as Information and Tabulation Agent) by the
 entity detailed below contains a true and accurate schedule of the Uninsured Bonds that are the
 property of beneficial owners who have delivered their instruction to join the Agreement to the
 undersigned nominee/custodian, (iii) the undersigned nominee/custodian is the holder, through a
 position held at a securities depository, or in street name, of the Uninsured Bonds set forth in such
 signature page, and (iv) the undersigned has the authority to act on behalf of such beneficial owners
 of Uninsured Bonds.




 1
   For the avoidance of doubt, if carrying out a Transfer, a holder of Uninsured Bonds must ensure the transferee is
 already a Settling Bondholder or must provide an executed joinder to the Information and Tabulation Agent in
 accordance with the instructions provided in this Appendix B.
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                      Desc:
                           Exhibit R Page 36 of 39



                 4.      Governing Law. Section 11.03 of the Agreement is incorporated by
 reference as if set forth fully herein, except that any references to “Agreement” shall be replaced
 with references to Joinder Agreement.

                                              *****

          [THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK]
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23 Desc:
                                  Exhibit R Page 37 of 39
         IN WITNESS WHEREOF, the Joining Settling Bondholder has caused this Joinder
   Agreement to be executed as of the date set forth above.

                                                  [NAME OF JOINING SETTLING
                                                  BONDHOLDER (TRANSFEREE)]

                                                 By:
                                                 Name:

                                                 Title:

                                                 Address:

                                                 Attention:

                                                 Email:

   Please list the principal amount of Uninsured Bonds (Alternative Identifying CUSIPs)
   beneficially owned by the Joining Settling Bondholder, or beneficially owned by accounts for
   which the Joining Settling Bondholder has investment management responsibility, which it
   asserts it would be entitled to vote on in a plan solicitation: $___________ (total)

                  Alternative     Principal        DTC          DTC          Email
                  Identifying      Amount        Nominee      Nominee      Address for
                    CUSIPs       Participating    Name of     Number of      DTC
                                    in the       Transferee   Transferee    Nominee
                                   Joinder                                  Contact




                                            DELIVERY
   Please deliver a copy of the Joinder Agreement along with this signature page to the
   Information and Tabulation Agent via their E-Portal system. In order to facilitate this
   delivery, please coordinate with the Settling Bondholder and contact the Information and
   Tabulation Agent by e-mail at puertoricoballots@ra.kroll.com to request revisions to the
   electronic submission of the Settlement Agreement associate with such Settling
   Bondholder indicating where to upload its Joinder Agreement to complete the transfer..

   Please note: Delivery of this Joinder Agreement in a way other than as set out above will not
   constitute valid consent to the Agreement. Delivery of this Joinder Agreement to PREPA or
   any other person other than the Information and Tabulation Agent, whether or not such person
   is party to the Agreement, does not constitute delivery to the Information and Tabulation Agent.
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                         Desc:
                           Exhibit R Page 38 of 39

                                              EXHIBIT C

                  [Settlement Agreement Consent Form to be submitted via Kroll’s E-Portal]


     Beneficial      CUSIP          Principal      DTC ATOP         DTC           DTC         Email
      Holder                        Amount        Confirmation     Nominee       Nominee     Address
      Name                        Participating   Number (one       Name         Number      for DTC
                                 in the Joinder    DTC ATOP                                  Nominee
                                                  Confirmation                               Contact
                                                  Number -VOI
                                                  - per CUSIP)




   In addition to completing the above form via Kroll’s E-Portal System, beneficial owners or
   their nominee (if permitted to sign on behalf of the beneficial owner) must provide a signature
   page to the Agreement, in the form of Exhibit D. The signature page must be attached to the
   holder’s submission through Kroll’s E-Portal System. If a signature page to the Agreement is
   not provided by the beneficial owner or its nominee (if authorized to do so), consent to the
   Agreement will not be deemed effective.
Case:17-03283-LTS Doc#:23631-18 Filed:02/27/23 Entered:02/27/23 00:24:23                                Desc:
                           Exhibit R Page 39 of 39

                                                 EXHIBIT D

                              [Form of Signature Page to Settlement Agreement]

                             EXECUTION BY AUTHORIZED SIGNATORY

   This signature page is delivered under the terms of the notice provided to holders of uninsured Bonds
   issued by PREPA (the “Notice”), dated January 27, 2023, regarding an opportunity for to become a
   Settling Bondholder party to a certain Settlement Agreement (the “Settlement Agreement”) distributed
   to such holder pursuant to the Notice.

   Capitalized terms used but not defined herein shall have the respective meanings given to them in the
   Settlement Agreement or Notice, as applicable.

   By signing below, the beneficial owner or its nominee/custodian (as authorized signatory for the
   beneficial owner) hereby certifies that (i) the Settlement Agreement is executed and delivered by the
   person or entity detailed below, as the beneficial owner (or authorized signatory) of the Bonds listed in
   Exhibit C to the Notice, (ii) this signature page delivered to Kroll Restructuring Administration LLC
   (the “Information and Tabulation Agent”) by the person or entity detailed below contains a true and
   accurate schedule of the Bonds that are the property of beneficial owners who have delivered their
   instruction to join the Settlement Agreement to their nominee/custodian or directly to the Information
   and Tabulation Agent, (iii) the undersigned is the beneficial owner or the nominee/custodian, through a
   position held at a securities depository, or in street name, of the Bonds set forth in such signature page,
   and (iv) the undersigned is or has the authority to act on behalf of such beneficial owners of Bonds.

   Date Submitted: ________

   Beneficial Owner Name:____________________

   Signature of Beneficial Owner (or Authorized
   Signatory):


   Print Name of
   Signatory:


   Beneficial Owner contact information:

   Tel. No:
   E-Mail:

   Address Line 1:
   Address Line 2:

                                                 DELIVERY
   Please deliver this signature page to the Information and Tabulation Agent as instructed in the
   Notice. No other methods will be accepted.

   Please note: Delivery of this signature page in a way other than as set out above will not constitute valid
   consent to the Settlement Agreement. Delivery of this signature page to PREPA or any other person
   other than the Information and Tabulation Agent, whether or not such person is party to the Settlement
   Agreement, does not constitute delivery to the Information and Tabulation Agent.
